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           ORDERED in the Southern District of Florida on August 12, 2020.




                                                                     Robert A. Mark, Judge
                                                                     United States Bankruptcy Court
_____________________________________________________________________________



                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA

       In re:
                                                           CASE NO. 20-13622-RAM
       Juan Jose Perez Mier ,
                            Debtor.



                          ORDER SETTING DEADLINES TO AVOID DISMISSAL

                THIS CASE came on to be heard on August 11, 2020 on confirmation of the proposed

       plan, and the Trustee having recommended that the case be dismissed if documents or

       amendments were not provided or filed timely, and the debtor attorney agreeing to the Trustee's

       recommendation, and based on the record, it is

                ORDERED as follows:

                1. The Trustee may upload an order of dismissal UNLESS on or before 5 pm on

       Thursday August 27, 2020, the debtor provides to the Trustee or files with the Court as

       appropriate: Remains unresolved from 7/11 deficiencyl) Amend plan to correct last 4 digits of
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account number for Nissan to Section VI (lease #0745, claim #15)

                                             ###
ORDER SUBMITTED BY:
NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

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ATTORNEY FOR DEBTOR
